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                   UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF COLUMBIA



 Ward Brehm,

               Plaintiff,

 v.
                                             Civil Case No. 25-cv-660
 Pete Marocco, et al.,

               Defendants.




  PLAINTIFFS’ MOTION FOR AN IMMEDIATE ADMINISTRATIVE
     STAY AND FOR A TEMPORARY RESTRAINING ORDER

        Under Local Civil Rule 65.1(a), Plaintiff Ward Brehm, in his individual

capacity and his official capacity as President of the United States African

Development Foundation (USADF), hereby moves for a temporary restraining

order, and an immediate administrative stay, for the reasons explained

below, enjoining the Defendants from taking any action inconsistent with the

authority he holds in that position. In particular, Plaintiff seeks a temporary

restraining order ordering: (1) that he may not be removed from his office as

President of USADF, or in any way be treated as having been removed, denied

or obstructed in accessing any of the benefits or resources of his office, or

otherwise be obstructed from his ability to carry out his duties, absent a

decision by the lawfully-constituted Board of USADF to remove him from that

office; (2) that the Defendants may not appoint Pete Marocco or any other
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person as an acting member of the Board of USADF, may not appoint Pete

Marocco or any other person as President of USADF in place of Plaintiff, or

otherwise recognize any other person as a member of the Board of USADF

absent Senate confirmation or as President of USADF absent appointment by

a lawfully-constituted Board; and (3) that any actions taken or contemplated

to be taken by Defendant Pete Marocco, any other Defendant, or any other

person acting in concert with the Defendants purportedly as a member of the

Board of USADF, absent Senate confirmation, are void ab initio and without

effect.

          As set forth in more detail in the accompanying brief, Defendant Pete

Marocco’s purported appointment as acting chair of the Board of USADF

violates the African Development Foundation Act, the Federal Vacancies

Reform Act, and the Appointments Clause of the United States Constitution.

Plaintiff will suffer irreparable injury if Defendant Pete Marocco’s purported

appointment is permitted to take effect.

          A temporary restraining order and an immediate administrative

stay are necessary because counsel for Plaintiff have learned that, while they

were beginning the consultations with counsel for the Defendants described

below, representatives of the Defendants have arrived at the headquarters of

USADF in an attempt to gain control of the office’s computer systems and

human resources files, and those representatives are currently continuing to




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attempt to do so despite counsel for Plaintiff’s attempts to confer with counsel

for Defendants.

      Under Local Civil Rule 65.1(a), at 12:08 p.m. on March 6, 2025, counsel

for Plaintiff emailed the three Directors for the Federal Programs Branch of

the Department of Justice to provide actual notice that Plaintiff was filing a

complaint and motion for temporary restraining order in this action, and to

request that the Defendants agree not to take action inconsistent with the

requested relief. At 1:30 p.m., the Federal Programs Branch responded that

Brian Hudak of the United States Attorney’s Office would be the point of

contact, and at 2:02 p.m., Mr. Hudak responded that John Bardo

(john.bardo@usdoj.gov) had been assigned to the matter, but that the

Defendants did not yet have a position on the requested relief. At 2:13 p.m.,

counsel for the Plaintiff informed counsel for the Defendants that immediate

relief was necessary and requested that counsel for the Defendants

immediately instruct their client not to take action inconsistent with the relief

requested in this motion. Counsel for the Plaintiff has provided Mr. Bardo with

electronic copies of the complaint, motion for temporary restraining order, and

accompanying brief, declarations, and proposed order via e-mail before

completing this electronic filing.




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March 6, 2025                    Respectfully submitted,

                                  /s/Bradley Girard
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                                 *motion to appear pro hac vice
                                 forthcoming

                                 Counsel for Plaintiffs




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